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                       UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO




 JOSE ZURITA, an individual,
                                              Case No. 1:18-cv-00110-CWD
                    Plaintiff,
                                              ORDER OF DISMISSAL
 v.

 US ECOLOGY, INC., a Delaware
 Corporation,

                    Defendant.



      The parties having filed a Stipulation of Dismissal, and good cause appearing

therefor, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

Stipulation of Dismissal (Dkt. 30) is APPROVED, and that this case is DISMISSED

WITH PREJUDICE and with each party to bear its own attorney fees and costs.



                                               DATED: February 21, 2019


                                               _________________________
                                               Honorable Candy W. Dale
                                               United States Magistrate Judge




ORDER OF DISMISSAL - 1
